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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISION

 MICFO, LLC,                                        )   Civil Action No. 2:18-CV-01653-DCN
                                                    )
                                       Plaintiff,   )
                                                    )
                vs.                                 )
                                                    )
 ERINN LARKIN and VICTORIA                          )
 LATHAM,                                            )          AMIR GOLESTAN’S
                                                    )             ANSWER TO
                                    Defendants.     )      THIRD-PARTY COMPLAINT OF
                                                    )            ERINN LARKIN
                                                    )
 ERINN LARKIN,                                      )             Jury Trial Requested
                                                    )
                           Third-Party Plaintiff,   )
                                                    )
                vs.                                 )
                                                    )
 AMIR GOLESTAN, individually,                       )
                                                    )
                      Third-Party Defendant.        )
                                                    )

       Third-Party Defendant Amir Golestan (“Golestan”), by and through his undersigned

counsel, files this answer to the third-party complaint of Erinn Larkin (“Larkin”), which begins at

paragraph 24 in the pleading titled Answer, Counter-Claims and Third Party Complaint for Erinn

Larkin (“Larkin’s Answer”), (ECF No. 7), and is herein referred to as “Larkin’s Third-Party

Complaint.” Unless expressly admitted or qualified herein, each and every allegation and averment

set forth in Larkin’s Answer and Third-Party Complaint is denied. Golestan further responds as

follows:

                                      FOR A FIRST DEFENSE

       1.      Paragraphs 1 through 23 of Larkin’s Answer contain no averments of fact to which

a response is necessary.
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       2.      Answering paragraph 24 of Larkin’s Third-Party Complaint, Golestan admits

Larkin was an employee of Micfo. Golestan denies the remaining allegations in paragraph 24 of

Larkin’s Third-Party Complaint.

       3.      Golestan denies the allegations in paragraph 25 of Larkin’s Third-Party Complaint.

       4.      Answering paragraph 26 of Larkin’s Third-Party Complaint, Golestan admits that

Micfo is headquartered in Charleston, South Carolina and that he owns and manages Micfo.

Golestan denies the remaining allegations in paragraph 26 of Larkin’s Third-Party Complaint.

       5.      Answering paragraph 27 of Larkin’s Third-Party Complaint, Golestan admits that

he is the owner of Micfo. Golestan denies the remaining allegations in paragraph 27 of Larkin’s

Third-Party Complaint.

       6.      Answering paragraph 28 of Larkin’s Third-Party Complaint, Golestan admits that

he is a resident of Charleston, South Carolina and that Micfo is headquartered in Charleston, South

Carolina. Golestan denies the remaining allegations in paragraph 28 of Larkin’s Third-Party

Complaint.

       7.      Answering paragraph 29 of Larkin’s Third-Party Complaint, Golestan admits that

Micfo was Larkin’s employer. The remainder of paragraph 29 consists of conclusions of law to

which no response is necessary, however, to the extent a response is necessary, the remaining

allegations of paragraph 29 are denied.

       8.      Answering paragraph 30 of Larkin’s Third-Party Complaint, Golestan admits that

under the Payment of Wages Act, S.C. Code Ann. § 41-10-10 et seq. (“SCPWA”), subject to

exceptions, when an employer separates an employee from its payroll the employer shall pay all

wages—as that term is defined in SCPWA—due to the employee within 48 hours of the time of




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separation or the next regular payday if it is within 30 days of the time of separation. Golestan

denies all remaining allegations in paragraph 30 of Larkin’s Third-Party Complaint.

       9.      Golestan denies the allegations in paragraph 31 of Larkin’s Third-Party Complaint.

       10.     Golestan denies the allegations in paragraph 32 of Larkin’s Third-Party Complaint.

       11.     Golestan denies the allegations in paragraph 33 of Larkin’s Third-Party Complaint.

       12.     Golestan denies the allegations in paragraph 34 of Larkin’s Third-Party Complaint.

       13.     Golestan denies the allegations in paragraph 35 of Larkin’s Third-Party Complaint.

       14.     Responding to paragraph 401 of Larkin’s Third-Party Complaint, Golestan

incorporates paragraphs 1 through 13 of this answer to Larkin’s Third-Party Complaint as if fully

restated herein.

       15.     Golestan denies the allegations in paragraphs 41, 42, 43, 44, and 45 of Larkin’s

Third-Party Complaint.

       16.     Responding to paragraph 46 of Larkin’s Third-Party Complaint, Golestan

incorporates paragraphs 1 through 15 of this answer to Larkin’s Third-Party Complaint as if fully

restated herein.

       17.     Golestan denies the allegations in paragraphs 47, 48, and 49 of Larkin’s Third-Party

Complaint.

       18.     Responding to paragraph 50 of Larkin’s Third-Party Complaint, Golestan

incorporates paragraphs 1 through 17 of this answer to Larkin’s Third-Party Complaint as if fully

restated herein.




1
 There are no paragraphs numbered 36 through 39 in Larkin’s Third-Party Complaint. Paragraph
40 is the first numbered paragraph following paragraph 35 in Larkin’s Third-Party Complaint.


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       19.     Responding to paragraph 51 of Larkin’s Third-Party Complaint, Golestan admits

Micfo was organized under his direction and that he is the sole member of Micfo. Golestan denies

all remaining allegations in paragraph 51 of Larkin’s Third-Party Complaint.

       20.     Golestan denies the allegations in paragraphs 52, 53, and 54 of Larkin’s Third-Party

Complaint.

       21.     Paragraphs 55, 56, 57, and 58 are not part of Larkin’s Third-Party Complaint but

instead are part of the counterclaims asserted against Micfo in Larkin’s Answer; accordingly, no

response to these paragraphs is necessary. To the extent a response is necessary, Golestan, in

response to paragraph 55, incorporates paragraphs 1 through 20 of this answer to Larkin’s Third-

Party Complaint as if fully restated herein, and denies the allegations in paragraphs 56, 57, and 58

of Larkin’s Answer.

       22.     Responding to Larkin’s Prayer for Relief, Golestan denies Larkin is entitled to any

relief or recovery as requested.

                                    FOR A SECOND DEFENSE

       23.     There is no allegation or claim of derivative liability in Larkin’s Third-Party

Complaint and, therefore, third-party practice under Rule 14 of the Federal Rules of Civil

Procedure is unavailable to Larkin. Accordingly, Larkin’s Third-Party Complaint against Golestan

should be dismissed in its entirety.

                                     FOR A THIRD DEFENSE

       24.     The allegations in Larkin’s Third-Party Complaint fail to state a claim upon which

relief may be granted and, therefore, her claims should be dismissed under Rule 12(b)(6) of the

Federal Rules of Civil Procedure.




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                                   FOR A FOURTH DEFENSE

       25.     If Larkin experienced delay or delays in the payment of any wages, as that term is

defined by SCPWA, due to her as an employee of Micfo and/or an alleged employee of Golestan,

the delay or delays were short and, therefore, did not violate SCPWA.

                                    FOR A FIFTH DEFENSE

       26.     If there were any violation of SCPWA, the existence of any violation being

expressly denied by Golestan, there was a bona fide good faith dispute as to wages owed.

Accordingly, Larkin’s claims for treble damages, attorney’s fees, and costs are barred.

                                    FOR A SIXTH DEFENSE

       27.     Larkin’s Third-Party Complaint fails to state a valid claim for punitive damages.

Moreover, Larkin’s claim for punitive damages is barred or limited under South Carolina law and

by the procedural and substantive due process guarantees, the guarantees against the taking of

property in an arbitrary or irrational manner or without adequate compensation, the guarantees of

equal protection of the laws, and the guarantees against undue burden upon commerce set forth in

the United States Constitution.

                                  FOR A SEVENTH DEFENSE

       28.     The claims brought by Larkin and/or some or all of the relief requested in Larkin’s

Third-Party Complaint may be barred in whole or in part by Larkin’s disloyalty as an employee of

Micfo as well as the doctrines of waiver, estoppel, laches, and/or unclean hands.

                                  FOR AN EIGHTH DEFENSE

       29.     The claims brought by Larkin and/or some or all of the relief requested in Larkin’s

Third-Party Complaint may be barred in whole or in part by the doctrines of acquiescence, accord

and satisfaction, consent, agreement, and payment.




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                                  FOR A NINTH DEFENSE

       30.     Golestan reserves the right to amend and supplement his affirmative defenses to

include any applicable defense, both legal and factual.


       WHEREFORE, having fully answered the Larkin’s Third-Party Complaint in the Answer,

Counter-Claims and Third Party Complaint for Erinn Larkin (ECF No. 7), Golestan prays the

claims against him be dismissed and further relief as this Court may deem just and proper.



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Charleston, South Carolina
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